Case 3:17-cv-00891-TJC-MCR Document1 Filed 08/03/17 Page 1 of 21 PagelD 1

FILED
UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA 2317 Aue
JACKSONVILLE DIVISION es ~3 f

if 9: 3

MICHAEL MCEVOY, on behalf of himself
and others similarly situated,

Case No.: S.\7-cv-81 [-J- “WR.

 

Plaintiff,
JURY TRIAL DEMANDED

APOLLO GLOBAL MANAGEMENT, LLC,
a Delaware limited liability company,
GARETH TURNER, individually, and MARK
BEITH, individually,

Defendants.

/
CLASS ACTION COMPLAINT

 

Plaintiff, MICHAEL MCEVOY, individually and on behalf of himself and all others
similarly situated, by his attorney, alleges the following based on the investigation of his counsel,
except as to allegations specifically pertaining to Plaintiff, which are based on his personal
knowledge.

NATURE OF THE ACTION

1. This is a class action on behalf of employee investors (the “Employee Investors”)
who, by virtue of their current and/or former employment status with CEVA Logistics, by and
through defendant Apollo Global Management, LLC, purchased minority interests of restricted
stock in an entity that ultimately came to be known as CEVA Investments Limited. The class is
seeking to recover damages caused by Defendants’ fraudulent orchestration and implementation
of a corporate restructuring in the Spring of 2013 (the “2013 Restructuring”) that resulted in the

Employee Investors’ individual monetary losses totaling in excess of €14,000,000.

Cad
Case 3:17-cv-00891-TJC-MCR Document1 Filed 08/03/17 Page 2 of 21 PagelD 2

JURISDICTION AND VENUE

2. This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§1332(d)(2)(a)
and (b) as the amount in controversy exceeds the sum or value of $5,000,000 exclusive of interests
and costs, and Michael McEvoy is a citizen of a State different from Defendants. Upon information
and belief, other putative class members are citizens or subject to a foreign state, and Defendants
are citizens of a State.

3. Venue is properly vested in this Court under 28 U.S.C. § 1391 as the damages
suffered by Michael McEvoy occurred in Duval County, Florida and, therefore, the causes of
action alleged herein accrued in Duval County, Florida.

PARTIES AND RELEVANT ACTORS

4. Plaintiff, Michael McEvoy (‘Plaintiff’) is a former employee of CEVA Logistics
(as defined below) residing in Duval County, Florida who was previously employed by TNT (as
defined below) by and through its North American operations located at TNT’s Jacksonville,
Florida headquarters prior to the acquisition of TNT by Apollo Global Management, LLC (as
defined below).

5. Non-party, CEVA Investments Limited (f/k/a Louis Topco Limited) is now known
as CIL (“CIL”). Until the 2013 Restructuring (as defined above), CIL directly and indirectly
owned 99.9% of the shares of Non-Party CEVA Group, PLC (“CEVA Group”). At all times
relevant to this Complaint, CEVA Group was the holding company for the CEVA Logistics
operating entities that employed the Employee Investors. (The CEVA Logistics operating entities
owned by CEVA Group are collectively referred to herein as “CEVA Logistics”).

6. Upon information and belief, CIL was a holding company that, by and through

ownership of shares of CEVA Group, was the immediate parent of CEVA Group and existed for
Case 3:17-cv-00891-TJC-MCR Document1 Filed 08/03/17 Page 3 of 21 PagelD 3

the purpose of reducing risks to its shareholders and exercised complete dominion and control over
CEVA Group and CEVA Logistics.

7. Upon information and belief, CEVA Logistics is one of the world’s largest non-
asset based freight management and supply chain logistics companies, conducting logistics and
freight management business from approximately 1000 locations in 160 countries. CEVA
Logistics’ worldwide operations are the product of the acquisition and amalgamation by Apollo
Global (as defined below) in 2007, of TNT Logistics (“TNT”), a global contract logistics company
based in Hoopdorf, Netherlands, and EGL, Inc. (“Eagle”) a global freight management company
based in Houston, Texas.

8. Defendant, Apollo Global Management LLC (“Apollo Global”) is a limited
liability company formed under the laws of the state of Delaware and has offices at 9 West 57"
Street, New York, New York 10019. Defendant, Apollo Global, upon information and belief, as
of March 31, 2013, had complete dominion and control over CIL and CEVA Group by virtue of
Apollo Global being the majority shareholder of CIL.' Upon information and belief, at all times
relevant to the allegations contained in this Complaint, Apollo Global exercised complete
dominion and control over CIL and CEVA Group from its offices in New York, New York.

9. Defendant, Gareth Turner (“Turner’’) was, upon information and belief, at all times
relevant to this Complaint, a director of CIL and CEVA Group, who resides in New York, New

York. As well, upon information and belief, at all times relevant to this Complaint, Turner was

 

Upon information and belief, Apollo Global controlled CIL through the majority interests of AP VI CEVA
Holdings, L.P., AlpInvest Partners Beheer 2006, L.P., AAA Guarantor Co-Invest VI (B), L.P., and Louis Cayman
Second Holdco, Ltd. (the “Apollo Shareholders”), all of whom were controlled by Apollo Global.
Case 3:17-cv-00891-TJC-MCR Document1 Filed 08/03/17 Page 4 of 21 PagelD 4

employed by Apollo Global. Upon information and belief, at all times relevant to the allegations
contained in this Complaint, Turner took all relevant actions while in New York, New York.

10. Defendant, Mark Beith (“Beith”) was, upon information and belief, at all times
relevant to this Complaint, a director of CIL, who resides in New York, New York. As well, upon
information and belief, Beith was employed by Apollo Global. Upon information and belief, at
all times relevant to the allegations contained in this Complaint, Beith took all relevant actions
while in New York, New York.

11. Non-party, Stanley Parker Jr., (“Parker”) was, upon information and belief, a senior
partner of Apollo Global in New York, New York, at all times relevant to this Complaint. Parker
was also a director of CEVA Group. Upon information and belief, Parker’s employment with
Apollo Global terminated in the middle of 2014. Upon information and belief, at all times relevant
to the allegations contained in this instant action, Turner and Beith took direction from Parker.

12. Non-party, CEVA Holdings, LLC (“CEVA Holdings’) is a Republic of Marshall
Islands limited liability company. Upon information and belief, CEVA Holdings, as a result of
the 2013 Restructuring, owns 99.9% of CEVA Group and is a mere continuation of CIL.

CLASS ACTION ALLEGATIONS

 

7

13. Plaintiff brings this action as a class action pursuant to Federal Rule of Civil
Procedure 23(a), 23(b)(1), and 23(b)(1)(3), on behalf of a class consisting of current and former
employees of CEVA Logistics, the Employee Investors (as defined above) who owned restricted
Class A shares of stock in CIL on or before March 31, 2013. Excluded from the class of Employee
Investors are Defendants, the officers and directors of CIL, members of their immediate families,

and their legal representatives, heirs, successors and assigns, the officers and directors of CEVA
Case 3:17-cv-00891-TJC-MCR Document1 Filed 08/03/17 Page 5 of 21 PagelID 5

Holdings, members of their immediate families, and their legal representatives, heirs, successors
and assigns, and the officers and directors of Apollo Global.

14. The members of the Employee Investors are numerous, and geographically diverse
across the United States and the world so that joinder is impractical. Indeed, upon information
and belief, Plaintiff believes that the number of Employee Investors members is greater than 300.
Members of the Employee Investors may be identified by records of CEVA Group, CIL, and
Apollo Global or their transfer agents and may be notified of the pendency of this action by mail.

15. Plaintiffs claims are typical of the claims of the other members of the Employee
Investors in that all Employee Investors have been damaged by Defendants, which caused
members of the Employee Investors to lose the value of their restricted stock through the 2013
Restructuring and the subsequent fraudulent valuation of the Employee Investors’ restricted stock.

16. Plaintiff will fairly and adequately protect the interests of other members of the
Employee Investors. To assist him, Plaintiff has retained counsel. Plaintiff is not aware of any
interest which is antagonistic to the interests of the Employee Investors.

17. Common questions of law and fact exist as to all of the Employee Investors and
these predominate over any questions solely affecting individual members of the Employee
Investors. Among the questions of law and fact common to the Employee Investors:

a. Whether the Defendants, in orchestrating and executing the 2013 Restructuring,
perpetuated a fraud upon the Employee Investors which caused damages to the
Employee Investors;

b. Whether the Defendants, in orchestrating and executing the 2013 Restructuring,
breached their respective fiduciary duties owed to the Employee Investors

which caused damages to the Employee Investors; and
Case 3:17-cv-00891-TJC-MCR Document1 Filed 08/03/17 Page 6 of 21 PagelD 6

c. To what extent the Employee Investors sustained damages and what is the
proper measure of damages.

18. A class action is superior to all other available methods for the fair and efficient
adjudication of this controversy since joinder of all members is impractical. Furthermore, because
the damages suffered by individual Employee Investors may be differing in amount, the expense
and burden of individual litigation makes it impossible for members of the Employee Investors to
pursue individual redress for the damages caused to them by Defendants’ acts. Plaintiff is not
aware of any difficulty that will be presented in managing this action as a class action.

FACTUAL BACKGROUND

19. Prior to the creation of CEVA Logistics by Apollo Global in 2007, Plaintiff and
other management-level employees of TNT, were given an opportunity to purchase restricted
shares of stock in “Newco”, an entity that would ultimately be recognized as CIL. Specifically,
Plaintiff purchased restricted shares in an entity that at the time was known as Louis Topco
Limited, a Cayman Islands entity. Ultimately, Apollo Global changed the name of Louis Topco
Limited to CEVA Investments Limited, which, as stated above, is now known as CIL. Similarly,
Apollo Global, at the time of its acquisitions of Eagle, provided to Eagle management-level
employees a similar opportunity to purchase restricted shares of stock in CIL. All in all, those
management-level employees who purchased restricted shares of CIL during the class period
comprise the Employee Investors.

20. Upon information and belief, Apollo Global made representations to the Employee
Investors to induce them to invest their monies into CEVA Logistics including, but not necessarily

limited to, the following:
Case 3:17-cv-00891-TJC-MCR Document1 Filed 08/03/17 Page 7 of 21 PagelD 7

a. “We are partners and we as sponsors commit ourselves personally and
institutionally to the vision[;]”

b. “Apollo is focused on creating value for all stakeholders (employees, customers
and owners) [...;]”

c. “The program is structured to reflect our philosophy that management and the
Sponsors should be partners with aligned incentives to generate substantial
equity value and share in gains[;]””

d. “The combination of leverage provided to management through options as well
as the equity returns on the deal will create significant investment returns.
Apollo and management will create a “business case” that all parties will ‘own’
and will be the basis for driving shareholder value[;]”

e. “Bottom Line: Apollo and Management will be aligned to share in value
creation[;]”

f. “Fair Market Value is generally determined by the Board of Directors of the
Company in good faith, utilizing a number of factors|;]”

21. Indeed, the Employee Investors purchased the restricted shares in CIL based on
Apollo Global’s representations to the Employee Investors that the Employee Investors would
obviously participate in the management of CEVA Logistics and that CEVA Logistics was to be
operated as a “partnership” based upon good faith, mutual trust, and confidence.

22. In February of 2012, the Employee Investors received an Employee Investor
Briefing announcing a refinancing that would allow benefits to Employee Investors. Specifically,

among the benefits listed to Employee Investors was an increase in the capability to grow the

 

* Upon information and belief, ‘Sponsors’ refers to Apollo Global.
Case 3:17-cv-00891-TJC-MCR Document1 Filed 08/03/17 Page 8 of 21 PagelD 8

business, a reduction in risk to equity value, and quicker access to the initial public offering
(“IPO”) market.

23. On May 4, 2012, CIL (at that ime known as CEVA Investments) filed with the
Securities and Exchange Commission (“SEC”) a Form F-1 in anticipation of an IPO of CIL’s
Apollo Shareholders’ 4,416,565 Class B Shares.’ At that time, CIL was a closely held corporation,
majority owned and controlled by Apollo Global, and the Employee Investors were its minority
shareholders. Indeed, upon information and belief, as of September 30, 2012, the Employee
Investors held approximately 344,048 Class A Shares (the “Class A Shares”), which represented
approximately 8.6% of CIL’s ownership equity, and held a value of €17,202,400. Moreover, on
September 12, 2012, upon information and belief, at a meeting of CIL’s Board of Directors (Beith
and Turner), it was determined that the fair market value of the Class A Shares was €50 per share.

24. However, upon information and belief, at some point between September and
November of 2012, Parker, Turner and Beith, by and through their respective and conflicting
positions with CIL, CEVA Group, and Apollo Global, began to plan the 2013 Restructuring.
Indeed, upon information and belief, in October of 2012, CIL sought advice from the Walkers law
firm (“Walkers”) in the Cayman Islands regarding the fiduciary duties of its directors. Upon
information and belief, Walkers also served as counsel to CEVA Group regarding the 2013
Restructuring.

25. Upon information and belief, Turner and Beith, both directors of CIL, also sought
counsel from the law firm of Mintz Levin in New York City (who also represented Apollo Global)

and the Appleby law firm in the Cayman Islands (“Appleby”) on behalf of CIL with regards to the

 

7 On August 29, 2012, CIL filed an Amended Form F-} with the SEC, in anticipation of an IPO,
Case 3:17-cv-00891-TJC-MCR Document1 Filed 08/03/17 Page 9 of 21 PagelD 9

2013 Restructuring. Upon information and belief, Appleby was formally retained by CIL in
December of 2012.

26. Upon information and belief, in February of 2013, counsel for CEVA Group
advised Beith and Turner as to the details of the planned 2013 Restructuring wherein CIL and its
directors would allow CEVA Group to issue new shares to CEVA Holdings, essentially
transferring all equity of CEVA Group held by CIL to CEVA Holdings for no consideration.

27. CEVA Group, as a subsidiary of CIL (who owned 99.9% of CEVA Group shares),
should not have been able to direct Beith and Turner, as directors of CIL, to allow CEVA Group
to issue new shares to the absolute extinguishment of the Employee Investors’ equity.

28. Additionally, upon information and belief, Mintz Levin as, counsel to CIL, wrote,
“It]he problem is that CEVA has asked CIL to undertake certain actions, not the other way around.
We are happy to do it, but neither CIL nor its directors wants to take the chance of incurring
liability for having complied with [CEVA Group’s] requests.”

29. Indeed, upon information and belief, Appleby, as counsel for CIL warned “[i]t is
important to take all steps to avoid shareholder complaint that the whole process ... is just a part
of an Apollo Group stitch up, for its own purposes, pushed through at CIL level by Apollo
controlled votes, in disregard of the interest of the CIL shareholders.” Upon information and
belief, Appleby was referring to the Employee Investors, as Apollo Global had majority ownership
and control of CIL.

30. Upon information and belief, Apollo Global, acting in conjunction with Beith and
Turner, continued with their plan for the 2013 Restructuring despite the acknowledged conflict
issues. Specifically, upon information and belief, counsel for CIL, Mintz Levin, expressed

dissatisfaction with a then current draft of the 2013 Restructuring proposal as “it was an excellent
Case 3:17-cv-00891-TJC-MCR Document 1 Filed 08/03/17 Page 10 of 21 PagelD 10

internal roadmap” but was “too forthcoming about our goals, our strategy, and some of our
alternatives[,]” and that “this document could conceivable end up in front of a court some day and
I want to give off an appearance the we are operating at an arms’ [sic] length basis.”

31. Upon information and belief, in an effort to effectuate the 2013 Restructuring and
give the appearance of an arm’s-length transaction, Defendants began actively planning
resignations of multiple directors of CEVA Group and CIL. Specifically, upon information and
belief, on or about January 15, 2013, two directors of CIL, Rubin McDougal and Dawn Wetherall,
resigned from CIL’s board while maintaining senior level positions of executive leadership in other
CEVA entities, thus leaving Beith and Turner as the only directors of CIL, with both Beith and
Turner retaining senior positions at Apollo Global, CIL’s majority shareholder. Likewise, Turner
resigned as a director of CEVA Group on or about January 15, 2013, while likewise retaining his
position at Apollo Global. Upon information and belief, Mintz Levin provided advice to and
drafted the resignation letters for the directors, while at the same time purporting to advise CIL.

32. Upon information and belief, aware of and concerned with the Turner’s and Beith’s
conflicts, on or about February 22, 2013, Mintz Levin counseled Turner and Beith to create an
illusion that would make it appear as if they were independently evaluating the 2013 Restructuring
proposal. Specifically, an attorney at Mintz Levin determined that Turner and Beith could deem
an ad hoc phone discussion to constitute a meeting of CIL’s board and stated, “[n]o need for Mark
[Beith] to call the meeting to order — we will just deem it so. We will keep minutes. They will
reflect that we asked CEVA and professionals to make a presentation” and further advising CIL to
“tell them that we will respond in a week, so as not to give the impression that we are just rubber

stamping, even if we are in favor of their plan.”

10
Case 3:17-cv-00891-TJC-MCR Document 1 Filed 08/03/17 Page 11 of 21 PagelD 11

33. Upon information and belief, Apollo Global and CEVA Group gave a presentation
regarding the proposed 2013 Restructuring to certain of its creditors, proposing to extinguish the
equity of the Employee Investors and Apollo Global, in a debt for equity swap. Upon further
information and belief, Apollo Global, by and through the Apollo Shareholders (defined above),
also owned a significant amount of CEVA debt and was to participate in the then proposed 2013
Restructuring and to benefit greatly from the 2013 Restructuring. No information regarding the
then-proposed 2013 Restructuring was provided to the Employee Investors.

34. Further, upon information and belief, on February 21, 2013, counsel for CEVA
Group advised Mintz Levin, who was acting as counsel for CIL, to file a provisional liquidation
of CIL in the Cayman Islands.

35. Upon information and belief, on March 18, 2013, Mintz Levin sent an email to
Beith and Turner stating, “[w]ith all the meddling by CEVA and Akin, we are getting to the point
where we cannot even suggest there is any separateness between CIL and CEVA [Group], even if
there was any to begin with.”

36. Upon information and belief, on March 28, 2013, Apollo Global caused CEVA
Holdings to be created as a new entity in the Marshall Islands.

37. Upon information and belief, on April 1, 2013, CEVA Group, Louis Cayman (the
holder of .01% of CIL shares), CEVA Holdings, and CIL entered into an agreement (purportedly
in settlement of CIL claims against CEVA Group) by which CIL agreed to allow CEVA Holdings
to obtain all the equity of CEVA Global in exchange for no consideration.

38. Likewise, upon information and belief, on April 1, 2013, Beith and Turner at the

request of Apollo Global, caused “CEVA Investments Limited” to have its name changed to “CIL

Limited.”

11
Case 3:17-cv-00891-TJC-MCR Document 1 Filed 08/03/17 Page 12 of 21 PagelD 12

>

39. Upon information and belief, on April 2, 2013, Beith and Turner caused CIL to file
for a provisional liquidation in the Cayman Islands, filing under an anonymous name of ABC
Limited to further ensure secrecy.

40. Additionally, upon information and belief, on April 2, 2013, Defendants caused
CIL to withdraw its IPO with the SEC.

4]. Upon information and belief, on April 3, 2013, CEVA Group, Apollo Global, and
certain of CEVA Group’s debt holders entered into a Restructuring Support Agreement to
effectuate the 2013 Restructuring.

42. Upon information and belief, Defendants greatly benefitted from the 2013
Restructuring to the detriment of the Employee Investors.

43. Upon information and belief, on or about April 4, 2013, CEVA Group issued a
report to its bondholders (the “Bondholder Report”) that detailed and stated the following:

a. Beith and Turner as directors of CIL held interests in entities that were creditors
of CEVA, and as such were able to participate and benefit from the planned
2013 Restructuring;

b. After extensive arm’s-length negotiations, a settlement was reached of CIL’s
intercompany claims against CEVA Group, which entailed, among other things,
“CEVA [Group], CIL, Ceva Holdings, LLC, and Louis Cayman Second Holdco
Limited enter[ing] into a Restructuring Agreement pursuant to which [...] CIL
agree[ing] to allow [CEVA Group] to issue new shares[;]” and

c. “CEVA [Group] and CIL believe that this compromise and settlement of the
CIL Intercompany Claim, as part of the overall compromise and settlement

between CEVA [Group] and CIL regarding the issuance of shares by CEVA

12
Case 3:17-cv-00891-TJC-MCR Document1 Filed 08/03/17 Page 13 of 21 PagelD 13

[Group] to facilitate the Restructuring, fairly and appropriately resolves the
potential risks of litigation regarding the CIL Intercompany Claim, is a good
faith compromise, and is reached after arms’ length negotiations. The
settlement and compromise was approved by each of the Boards of Directors
of CEVA [Group] and CIL, which were both independently advised by
separate legal and financial advisors. The Boards of Directors of CEVA
[Group] and CIL consist of no members that are members of the other Boards
of Directors.”

44. However, the purported settlement and compromise of CIL allowing CEVA group
to issue new shares to CEVA Holdings was not in good faith, was not an arm’s-length negotiation,
and was heavily conflicted. Indeed, the “CIL Intercompany Claim” was a mere contrivance of and
by the Defendants which settlement of was, as well, a subterfuge designed to lend an aura of
legitimacy to their acts.

45. On or about April 5, 2013, the Employee Investors were sent correspondence from
CIL, alternatively defined in the April 5, 2013 correspondence as “Holdco”, from its offices in the
Cayman Islands. The correspondence stated in relevant part:

As you likely know, the principal investment of Holdco is its direct
and indirect shareholding in its subsidiary company, CEVA Group
Plc (“CEVA”). The directors of Holdco have received advice from
valuation and restructuring professionals that Holdco’s
shareholding in CEVA is now without value, in consequence of the

financial condition of CEVA.

You may have seen, or shortly will see, press announcements
concerning the proposed restructuring of CEVA [...].

In light of Holdco’s and CEVA’s financial condition, we have been
advised that it is unlikely that there will be any recoveries for
shareholders of Holdco in their capacities as shareholders. The
Directors regret having to write to you with this information.

13
Case 3:17-cv-00891-TJC-MCR Document1 Filed 08/03/17 Page 14 of 21 PagelD 14

46. However, the representation in the April 5, 2013 correspondence to the Employee
Investors was false. Upon information and belief, Parker, Stanley, and Beith engaged Morgan
Stanley and Ernst & Young, on behalf of Apollo Global, to perform valuation work in anticipation
of executing the 2013 Restructuring.

47. Upon information and belief, in early January of 2013, Beith spoke with
representatives of Ernst & Young about providing an opinion concerning restructuring options and
the valuation of CEVA Group’s shares, of which CIL was the majority owner. In a January 16,
2013 proposal, Ernst & Young proposed to perform valuation work that would include discussions
with management and an analysis of CEVA Group’s earning capacity.

48. Upon information and belief, Beith and Turner responded to Ernst & Young that
its role was to be limited to providing a second opinion of a restructuring plan and that Ernst &
Young was only to review materials provided to it. Indeed, Beith stated that a valuation by Ernst
& Young was not wanted and instructed Ernst & Young to accept a valuation provided by Apollo
Global’s professionals, one of which was Morgan Stanley.

49. Upon information and belief, the CIL directors engaged Emst & Young to prepare
a report (the “Ernst Young Report”) to be based only in part upon information contained in a report
to be prepared by Morgan Stanley. Indeed, upon information and belief, Mintz Levin
communicated to the CIL directors that, “I trust that you have made it clear that [the role of the
Ernst & Young Report] re the restructuring plan is just to review and not to create and, especially,
that they will not be able to, or expected to verify basic data [....]” and that “they will take the data
as given.” Upon information and belief, both CIL directors conversed and concurred that the Ernst
& Young report should be satisfactory to them and that the report needed to meet the needs of their

purpose.

14
Case 3:17-cv-00891-TJC-MCR Document1 Filed 08/03/17 Page 15 of 21 PagelD 15

50. Upon information and belief, on or about January 17, 2013, two days after the
resignations of the various directors referenced above, Parker requested Morgan Stanley to conduct
an evaluation of CEVA Group. On January 28, 2013, only a week after Beith provided Morgan
Stanley with financial data and eleven-days after the request by Parker, Morgan Stanley produced
a valuation report of CEVA Group (the “Morgan Stanley Report”). The Morgan Stanley Report
was based upon information provided by Apollo Global that was not independently verified and
not suitable for use in evaluating the 2013 Restructuring due to lack of verification of the
information. Specifically, the Morgan Stanley Report stated:

You should not definitively rely upon it or use it to form the
definitive basis for any decision, contract, commitment or action
whatsoever, with respect to any proposed transaction or otherwise.

51. Nonetheless, the Morgan Stanley Report indicated that CEVA’s equity might have
significant value. Indeed, upon information and belief, the Morgan Stanley Report showed that
CEVA Group’s value could be as high as $3.75 billion, an amount high enough to satisfy debt
obligations and provide value to CIL.

52. Despite the fact that in September of 2012, CIL’s directors had determined that CIL
shares had value and, that the outside valuations conducted at the behest of Apollo Global in
February of 2013 were flawed and inconclusive, on April 5, 2013, Apollo Global sent notice to
Employee Investors that their shares in CIL had been extinguished as they had no value. Indeed,
Apollo Global falsely claimed that the Employee Investors shares were worthless because of the
financial condition of CIL thus necessitating the 2013 Restructuring. The truth was that CIL had
significant value that was only destroyed as a result of the 2013 Restructuring.

53. Upon information and belief, within a few months after 2013 Restructuring, Apollo

Global fraudulently induced some then-current CEVA Logistics employees who are Employee

15
Case 3:17-cv-00891-TJC-MCR Document1 Filed 08/03/17 Page 16 of 21 PagelD 16

Investors to waive claims against Apollo Global and CEVA Group in exchange for shares (of
lesser value than Employee Investors investments in CIL) by providing them with false financial
information, omitting relevant information regarding alternative options to the 2013 Restructuring,
and stating falsely that CIL’s equity in CEVA had no value. Upon information and belief, Apollo
Global intended that the Employee Investors rely upon these falsities.

54. Upon information and belief, Apollo Global is the controlling shareholder and
manager of CEVA Holdings and has derived great financial benefit for itself and Turner and Beith.
Upon information and belief, CEVA Holdings is a mere continuation of CIL and therefore CIL
suffered no damage as an entity pursuant to the 2013 Restructuring.

55. In 2013 both CIL and CEVA Group were under control of Apollo. Apollo Global
was the controlling shareholder of CIL, and CIL, in turn owned CEVA Group. As such, CIL's
valued derived solely from its ownership of CEVA Group. As such, the Employee Investors’ value
in CIL likewise derived from CIL's ownership of CEVA Group. Indeed, upon information and
belief, the CEVA Group Bondholder Report dated April 4, 2013, referenced above, states in
relevant part:

Through control of a majority of the ordinary shares of CIL, Apollo
and its affiliates have the power to control us and our affairs and
policies, including the election of our directors and the appointment

of our management team. A majority of the members of our board
are partners or employees of Apollo.

COUNT I- FRAUD
(Against all Defendants)

56. Plaintiff repeats, re-alleges, and incorporates by reference each and every allegation
of paragraphs | through 55 as if fully set forth herein.
57. Employee Investors, by and through Apollo Global, were induced to invest

significant monies in CIL.

16
Case 3:17-cv-00891-TJC-MCR Document1 Filed 08/03/17 Page 17 of 21 PagelD 17

58. Apollo Global represented to Employee Investors that its interests would be aligned
with the Employee Investors.

59. Apollo Global represented to Employee Investors that the restricted share value in
CIL would be determined on a good faith basis.

60. Indeed, Defendants, in September of 2012, determined that the value of CIL’s Class
A shares held a value of €50 per share.

61. Defendants, beginning in October of 2012, knowingly and willingly, began to plan
an unlawful scheme that would damage the Employee Investors by extinguishing the value of their
restricted shares in CIL, while retaining equity value in and majority control in CEVA Holdings
for themselves.

62. Defendants, knowingly and willingly, procured and guided the Morgan Stanley
Report and the Ernst Young Report (collectively, the “Financial Reports”), which they knew were
based on deliberately manipulated and incomplete financial information, without properly
evaluating alternatives.

63. Defendants knowingly and willingly used the Financial Reports as a basis for the
2013 Restructuring, determining that CIL shares in CEVA Global equity had no value. Defendants
made such determinations in bad faith.

64. Defendants knowingly and willingly transferred all equity in CEVA Group to
CEVA Holdings for no consideration, and gave improper value and consideration to the Employee
Investors.

65. Defendants knowingly and willingly provided the Employee Investors with false
information regarding the value of their restricted shares in CIL, and the Employee Investors

reasonably relied upon this information.

17
Case 3:17-cv-00891-TJC-MCR Document 1 Filed 08/03/17 Page 18 of 21 PagelD 18

66. Defendants, knowingly and willingly made material misleading statements and
omissions when they failed to withdraw the publicly filed SEC Form F-1 at a time when they knew
they had no intention of moving forward with an IPO.

67. Defendants, knowingly and willingly made material misleading statements and
omissions when they failed to inform Employee Investors of alternatives to the 2013 Restructuring,
such as raising funds through an JPO, or options of selling CEVA Group in a private sale.

68. Defendants, knowingly and willingly induced some Employee Investors to waive
claims against Defendants by providing them with false information and improper value and
consideration.

69. Defendants intended that the Employee Investors rely upon these misleading
statements and omissions.

70. As a result of Defendants unlawful behavior, the Employee Investors have been
damaged.

COUNT II - BREACH OF FIDUCIARY DUTY
(Against all Defendants)

71. Plaintiff repeats, realleges, and incorporates by reference each and every allegation
of paragraphs | through 55 as if fully set forth herein.

72. Apollo Global, by virtue of its role as the Sponsor of the employee-stock equity
plans that resulted in the purchase of minority restricted shares in CIL by the Employee Investors
and, and by virtue of its status as the majority shareholder of CIL, owed the Employee Investors a
special duty of care.

73. Likewise, Turner and Beith, by virtue of their respective roles as directors of CIL
and employees of Apollo Global, owed a special duty of care to the minority Employee Investor

shareholders.

18
Case 3:17-cv-00891-TJC-MCR Document 1 Filed 08/03/17 Page 19 of 21 PagelD 19

74, Indeed, in as much as CIL was a closely held corporation and Apollo Global was
the majority shareholder, Apollo Global exercised complete dominion and control over CIL by
and through its employees, Turner and Beith, CIL’s directors.

75. As has been stated throughout, the Defendants breached their respective duties of
care to Employee Investors.

76. Apollo Global represented to the Employee Investors that its interests would be
aligned with the Employee Investors.

77. Apollo Global represented to Employee Investors that share value in CIL would be
determined on a good faith basis.

78. Apollo Global, by and through Turner and Beith, beginning in October of 2012,
knowingly and willingly, began to plan an unlawful scheme that would damage the Employee
Investors by extinguishing the value of the Employee Investors’ restricted shares in CIL, while
retaining equity value in CEVA Holdings for themselves.

79. Defendants, knowingly and willingly, procured and guided the Morgan Stanley
Report and the Ernst Young Report (collectively, the “Financial Reports”), which they knew were
based off dishonest and incomplete financial information, without properly evaluating alternatives.

80. Defendants knowingly and willingly used the Financial Reports as a basis for the
2013 Restructuring, determining that CIL shares in CEVA Global equity had no value. Defendants
made such determinations in bad faith.

81. Defendants knowingly and willingly transferred all equity in CEVA Group held by
the Employee Investors to CEVA Holdings, and gave improper value and consideration to the

Employee Investors for this transaction.

19
Case 3:17-cv-00891-TJC-MCR Document 1 Filed 08/03/17 Page 20 of 21 PagelD 20

82. Defendants knowingly and willingly provided the Employee Investors with false
information regarding the value of their restricted shares in CIL, and the Employee Investors
reasonably relied upon this information.

83. Defendants, knowingly and willingly induced some Employee Investors to waive
claims against Defendants by providing them with false information, making material omissions,
and improper value and consideration.

84. In so doing, Defendants abused their positions for their own financial benefit and
used special inside knowledge obtained by virtue of their respective positions, which they failed
to share with the Employee Investors, to take advantage of the minority shareholders who
constitute the Employee Investors. Indeed, the result of the 2013 Restructuring orchestrated and
implemented by the Defendants was that the Defendants gained economic benefits while the
Employee Investors were frozen out of any such benefit and, as such, the Employee Investors were
uniquely harmed.

85. Asa result of Defendants’ breaches of fiduciary duties, the Employee Investors

have been harmed.

PRAYER FOR RELIEF

 

WHEREFORE, Plaintiff, Michael McEvoy, on behalf of himself and all others similarly
situated, prays for relief pursuant to each Count set forth in the Complaint as follows:
1. For an order certifying that this action may be maintained as a class action,
certifying Plaintiff as representative of the Class, and designating his counsel as

counsel for the class;

to

For compensatory and punitive damages to be determined at trial:

3. For an award of costs; and

20
Case 3:17-cv-00891-TJC-MCR Document 1 Filed 08/03/17 Page 21 of 21 PagelD 21

4. For any other relief the court might deem just, appropriate, or proper.

JURY DEMAND

Plaintiff respectfully demands a trial by jury on all issues so triable.

Respectfully submitted this 3rd day of August 2017.

\\
JQHN D°WEBBIP.A. ||

ge
\-

ohh D“Jack” webb
Flofida Bar Number 0051871

320 St. Augustine Road, Suite 7B
Jacksonville, Florida 32217
Telephone: (904) 803-4686
Primary Email:
Jwebb@jackwebblaw.com
Secondary Email:
arichey@jackwebblaw.com

  

 

21
